      Case 2:10-cr-00437-WBS Document 240 Filed 01/25/13 Page 1 of 2


 1   DAN KOUKOL
     Attorney at Law
 2   State Bar No. 122526
     11930 Heritage Oak Place, Suite 6
 3   Auburn, California 95603
     Telephone: (530) 823-5400
 4   Facsimile: (530) 852-0150
     Email: dkoukol@placergroup.com
 5
     Attorney for Defendant,
 6   TONY ROSALES

 7
                               IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 2:10-CR-00437-02 WBS

11              Plaintiff,                             STIPULATION AND ORDER

12        vs.                                          DATE: March 4, 2013
                                                       TIME: 9:30 AM
13   TONY ROSALES,                                     JUDGE: Hon. William B. Shubb

14              Defendant.

15

16          It is hereby stipulated and agreed to between the United States of America through Jill

17   Thomas, Assistant U.S. Attorney, and defendant Tony Rosales, by and through his attorney, Dan

18   Koukol, that the status conference of January 28, 2013 be vacated and that a status conference be

19   set for March 4, 2013 at 9:30 AM.

20          This continuance is being requested because the defendant recently received a pre-plea

21   probation department sentencing recommendation and is awaiting a written plea offer from the

22   government.

23          //

24          //

25          //
                                                -1-
26
      Case 2:10-cr-00437-WBS Document 240 Filed 01/25/13 Page 2 of 2


 1          Counsel agree that the time between the signing of the requested order and March 4, 2013

 2   will be excluded from the speedy trial calculation pursuant to 18 U.S.C. §3161(h)(7)(A) and (B)

 3   (Local Code T4) in that the defendants’ and the public’s interest in a speedy trial are outweighed

 4   by the interests of justice in permitting counsel adequate time to prepare.

 5

 6   DATED: JANUARY 24, 2013                       Respectfully submitted,

 7
                                                   /s/ DAN KOUKOL
 8                                                 _________________________________
                                                   DAN KOUKOL
 9                                                 Attorney for defendant Tony Rosales

10

11   DATED: JANUARY 24, 2013                       Respectfully submitted,

12
                                                   /s/ DAN KOUKOL FOR JILL THOMAS
13                                                 _________________________________
                                                   JILL THOMAS
14                                                 Assistant U.S. Attorney

15          IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled

16   for January 28, 2013, be vacated and the matter continued to March 4, 2013 at 9:30 AM for

17   further status conference. The Court finds that time under the Speedy Trial Act shall be excluded

18   through that date in order to afford counsel reasonable time to prepare. Based on the parties’

19   representations, the Court finds that the ends of justice served by granting a continuance

20   outweigh the best interests of the public and the defendants to a speedy trial.

21
     DATED: January 24, 2013
22

23

24

25
                                                  -2-
26
